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                   EXHIBIT A
                   (Proposed Amicus Brief)
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                                         UNITED STATES DISTRICT COURT
                 19                     CENTRAL DISTRICT OF CALIFORNIA
                 20
                 21                                       Case No. 2:85-cv-4544-DMG
                 22
                                                          Brief of Amici Curiae the American
                 23                                       Academy of Child and Adolescent
                 24                                       Psychiatry (“Amicus 1”), the
                      JENNY LISETTE FLORES, et al.,       American Academy of Pediatrics
                 25                                       (“Amicus 2”), the American Academy
                 26                Plaintiffs,            of Pediatrics, California (“Amicus 3”),
                                                          the American Federation of Teachers
                 27   v.                                  (“Amicus 4”), the American Medical
                 28                                       Association (“Amicus 5”), the
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                   1   WILLIAM BARR, Attorney General of   American Professional Society on the
                   2   the United States, et al.,          Abuse of Children (“Amicus 6”), the
                                                           American Psychiatric Association
                   3                Defendants.            (“Amicus 7”), the American
                   4                                       Psychoanalytic Association (“Amicus
                                                           8”), the California American
                   5                                       Professional Society on the Abuse of
                   6                                       Children (“Amicus 9”), the Center for
                                                           Law and Social Policy (“Amicus 10”),
                   7                                       the Children’s Defense Fund
                   8                                       (“Amicus 11”), the Lutheran
                                                           Immigration and Refugee Service
                   9                                       (“Amicus 12”), the National
                 10                                        Association of Social Workers
                                                           (“Amicus 13”), the National
                 11                                        Education Association (“Amicus 14”),
                 12                                        the Texas Pediatric Society (“Amicus
                                                           15”), the Women’s Refugee
                 13                                        Commission (“Amicus 16”), together
                 14                                        with First Focus on Children
                                                           (“Amicus 17”), Save the Children
                 15                                        Action Network, Inc. (“Amicus 18”),
                 16                                        Save the Children Federation, Inc.
                                                           (“Amicus 19”), United States Fund for
                 17                                        UNICEF (“Amicus 20”), and ZERO
                 18                                        TO THREE (“Amicus 21”), in
                                                           support of Plaintiffs
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                   1   I.     Introduction
                   2          This matter arises from the Trump Administration’s effort to abandon the
                   3   protections guaranteed children under the Flores Settlement Agreement “FSA”.
                   4   Flores v. Reno, Case No. CV 85-4544-RJK(Px) (C.D. Cal. filed Jan. 17, 1997).1
                   5   Expressing disagreement with various court decisions implementing the FSA and
                   6   ignoring the recommendations of its own DHS advisory committee (“Advisory
                   7   Committee”) that “detention or the separation of families for purposes of immigration
                   8   enforcement or management are never in the best interest of children,” 84 Fed. Reg.
                   9   at 44,503, the Administration’s Rule seeks to expand the detention of children and to
                 10    do so indefinitely.2 In other words, according to the Administration’s own experts,
                 11    its Rule is directly contrary to the best interests of children.
                 12           The primary purpose of the FSA is to protect immigrant children from harm.
                 13    Indeed, the FSA explicitly states that the Administration is required to treat “all
                 14    [children] in its custody with dignity, respect and special concern for their particular
                 15    vulnerability as [children].” FSA ¶ 11. The FSA further emphasizes that detained
                 16    children should be placed “in the least restrictive setting appropriate to the [child’s]
                 17    age and special needs . . . .” Id.
                 18           The seminal principles of dignity, respect, and least restrictive setting are also
                 19    echoed in the FSA’s mandates regarding the release of immigrant children. More
                 20    specifically, the FSA provides that an immigrant child should be released without
                 21    unreasonable delay. FSA, ¶¶ 14, 18.
                 22           Finally, the FSA requires that in the event that a child is to be placed in a
                 23    “licensed program,” such program shall be non-secure and “licensed by an
                 24    appropriate State agency to provide residential, group, or foster care services for
                 25
                       1
                 26     The new rule is: Apprehension, Processing, Care, and Custody of Alien Minors and
                       Unaccompanied Alien Children, 84 Fed. Reg. 44,392 (Aug. 23, 2019) (“Rule”).
                 27    2
                        The Rule is in direct violation of the FSA’s requirement that the “final regulations
                 28    shall not be inconsistent with the terms of” the FSA. FSA ¶ 9.
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                   1   dependent children.” FSA ¶ 6. The licensed program must meet all enumerated
                   2   standards, including that the children must be provided with appropriate medical
                   3   care, suitable living accommodations (including appropriate food, clothing and
                   4   grooming items), and educational services. FSA, Ex. 1.
                   5         With the current proposal, the Administration seeks to gut the protections of
                   6   the FSA for vulnerable children, in violation of the FSA itself. Rather than
                   7   implementing the humane approach of the FSA to care for children seeking safety,
                   8   the Rule confines these children for an indefinite period of time in “secure facilities”
                   9   — a euphemism for a prison-like structure. These facilities would be licensed and
                 10    overseen by the same federal agencies that have decisively demonstrated their
                 11    widely-condemned methods of “caring” for these children. In addition, children in
                 12    custody face a constant risk under the Rule of having their status changed to their
                 13    immediate detriment.
                 14          The present situation under the FSA is barely tolerable for children. The Rule
                 15    will make things much worse, with more children detained for longer periods of time
                 16    under materially worse conditions. The Rule is not in the best interests of these
                 17    children.
                 18    II.   The Amici And Their Interests In The Case
                 19          The American Academy of Child and Adolescent Psychiatry (“Amicus 1”), the
                 20    American Academy of Pediatrics (“Amicus 2”), the American Academy of
                 21    Pediatrics, California (“Amicus 3”), the American Federation of Teachers (“Amicus
                 22    4”), the American Medical Association (“Amicus 5”), the American Professional
                 23    Society on the Abuse of Children (“Amicus 6”), the American Psychiatric
                 24    Association (“Amicus 7”), the American Psychoanalytic Association (“Amicus 8”),
                 25    the California American Professional Society on the Abuse of Children (“Amicus 9”),
                 26    the Center for Law and Social Policy (“Amicus 10”), the Children’s Defense Fund
                 27    (“Amicus 11”), the Lutheran Immigration and Refugee Service (“Amicus 12”), the
                 28    National Association of Social Workers (“Amicus 13”), the National Education
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                   1   Association (“Amicus 14”), the Texas Pediatric Society (“Amicus 15”), the Women’s
                   2   Refugee Commission (“Amicus 16”), together with First Focus on Children (“Amicus
                   3   17”), Save the Children Action Network, Inc. (“Amicus 18”), Save the Children
                   4   Federation, Inc. (“Amicus 19”), United States Fund for UNICEF (“Amicus 20”), and
                   5   ZERO TO THREE (“Amicus 21”), as organizations committed to the care, health,
                   6   well-being, and welfare of immigrant children in the United States, respectfully
                   7   submit this brief, as amici curiae, in support of Plaintiffs’ opposition to the Rule.
                   8          Amicus 1, Amicus 2, Amicus 3, Amicus 4, Amicus 5, Amicus 6, Amicus 7,
                   9   Amicus 8, Amicus 9, Amicus 13, Amicus 14, and Amicus 15 are non-profit
                 10    professional organizations that are dedicated to the health, care, well-being, and
                 11    treatment of children. Amicus 10, Amicus 11, Amicus 17, Amicus 18, Amicus 19, and
                 12    Amicus 21 are national, non-profit organizations that focus on advancing policy
                 13    solutions for children and families. Amicus 12, Amicus 16, and Amicus 20 are
                 14    national, non-profit organizations that focus on the general welfare of children. Full
                 15    statements on each amicus are included as Exhibit 1 to the Declaration of John
                 16    Purcell. Formal comments submitted by certain of the amici during the proposed
                 17    rule’s comment period are included as Exhibit 2 to the Declaration of John Purcell.
                 18    III.   Summary Of Deviations From FSA
                 19           A.    The Rule Directly Harms Children By Eliminating Defendant’s Duty
                 20                 To Release Immigrant Children To Their Families As Required By
                 21                 The FSA.
                 22           The Rule eliminates the Administration’s duty to release accompanied
                 23    children to family members in the community. Eliminating this requirement will
                 24    result in significant short and long-term harm to children through the continued
                 25    detention of children who would have otherwise been released.
                 26           Under 8 C.F.R. § 236.3(j), once DHS has determined detention is unnecessary
                 27    to secure an accompanied child’s attendance at immigration proceedings or to protect
                 28    the child’s safety, DHS “will make prompt and continuous efforts to release the
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                   1   [child] to [a] parent or legal guardian.” 8 C.F.R. § 236.3(j)(5).3 However, the Rule
                   2   states that where an accompanied child’s parents are also detained, DHS’s policy is
                   3   to “maintain family unity” by “detaining families together.” 8 C.F.R. § 236.3(h).
                   4   DHS has also relieved itself of its duty to release accompanied children to any of
                   5   their adult family members (sibling, aunt, uncle, or grandparent) listed in the FSA.
                   6   Instead, 8 C.F.R. § 236.3(j)(5) states that “[r]elease of a [child] who is not a
                   7   [unaccompanied child] to an adult relative other than a parent or legal guardian is
                   8   within the unreviewable discretion of DHS.” 8 C.F.R. § 236.3(j)(5). Thus, the
                   9   Administration seeks to hedge its duty to release an immigrant child to an adult
                 10    relative; rather such release purports to be unreviewable (and unlikely) given the
                 11    Administration’s preference for detaining children with their parents. However,
                 12    neither the FSA, nor basic due process, allows the Administration to deny such
                 13    release subject only to the “unreviewable discretion of DHS.”
                 14          B.     Release Will Be In DHS Discretion And It Is Likely That Children
                 15                 Will Be Indefinitely Detained Or Be Released And Separated From
                 16                 Their Accompanying Parent Remaining In Detention.
                 17          Moreover, DHS has also granted itself unreviewable discretion to make
                 18    determinations as to whether the detention of an accompanied child is required either
                 19    to secure his or her timely appearance or to ensure the child’s safety. 8 C.F.R. §
                 20    236.3(j)(4). Such determinations may be based on “any . . . probative information,”
                 21    including aggregate and historical data, officer experience, and statistical information
                 22    even though DHS officers have little or no experience in child welfare and statistical
                 23    data should never decide the fate of an individual child in custody. Significantly, the
                 24    determinations are in the unreviewable discretion of DHS. Such unlimited discretion
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                        Notably, this language too is a diminution of DHS’s responsibility under the FSA,
                 27
                       which categorically requires the release of immigrant children to an approved
                 28    custodian without unnecessary delay. See FSA ¶ 14.
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                   1   affords DHS the authority to determine that detention is always necessary to secure
                   2   timely appearance or ensure a child’s safety.
                   3         Finally, if an accompanied child is not released, he or she “shall remain in DHS
                   4   detention . . . until such time as release can be effected or until the [child’s]
                   5   immigration proceedings are concluded, whichever occurs earlier.” 84 Fed. Reg. at
                   6   44,527. The interaction of 236.3(j)(4) and (5) and 236.3(h) make likely this outcome
                   7   of the Rule for accompanied children: DHS will detain them indefinitely rather than
                   8   release them to adult relatives who are willing and able to care for them. Or, in a clear
                   9   contradiction to the purpose of the FSA, would permit the release of children to
                 10    family while leaving their accompanying parent behind in immigration detention.
                 11          C.     Under The Rule, The Facilities Will Be Self-Licensed, Overseen By
                 12                 Parties Hired By And Accountable Solely To The Administration, And
                 13                 Will Result In Materially Worse Conditions For Children.
                 14          The facilities authorized to house immigrant children in the Rule will not meet
                 15    the least restrictive setting requirement or the licensing requirements under the FSA.
                 16                 1.     Immigrant Children Likely Will Be Detained In Prison-like
                 17                        Conditions In Violation Of The Least Restrictive Environment
                 18                        Requirement.
                 19          The Administration’s definition of “non-secure” in the Rule will
                 20    indiscriminately allow them to detain children in the same types of facilities used to
                 21    house convicted criminals: a facility is “non-secure” so long as “egress from a portion
                 22    of the facility’s building is not prohibited through internal locks within the building
                 23    or exterior locks and egress from the facility’s premises is not prohibited through
                 24    secure fencing around the perimeter of the building.” 84 Fed. Reg. at 44,526.
                 25    Defendants could therefore entirely prohibit egress from a facility’s detention area
                 26    through internal locks, yet would call the facility “non-secure” so long as one part—
                 27    a reception area, for example—is unlocked. See 8 C.F.R. § 236.3(b)(11).
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                   1                  2.    Immigrant Children Will Be Placed In Self-Licensed Facilities
                   2                        In Violation Of The FSA.
                   3           The FSA requires a licensed program that accepts custody of immigrant
                   4   children to be “licensed by an appropriate State agency to provide residential, group,
                   5   or foster care services for dependent children, including a program operating group
                   6   homes, foster homes, or facilities for special needs [children].” FSA ¶ 6. In a major
                   7   shift, the Rule exenterates the state licensing requirement to which accompanied
                   8   children are entitled under the FSA. Instead, DHS will be able to detain children in
                   9   facilities that are not licensed by any state child welfare agencies, and a third-party
                 10    retained by DHS will be paid to certify Immigration and Customs Enforcement
                 11    (“ICE”) detention centers’ compliance with DHS standards. However, DHS’s
                 12    inability to comply with the requirements of the FSA is well-known. Gutting these
                 13    requirements by removing the state licensing mandate will result in materially worse
                 14    conditions for children.
                 15            D.     The Rule’s New Definitions Of Influx And Emergency Will Result In
                 16                   Longer Periods Of Detention.
                 17                   1.    The Rule’s Definition Of “Influx” Is Based On Outdated Data
                 18                         And Would Permit DHS To Operate In A De Facto Permanent
                 19                         State Of Influx.
                 20            In defining “influx” as “more than 130 . . . children eligible for placement in a
                 21    licensed facility,” 84 Fed. Reg. at 44,526, the Rule fails to account for the increase
                 22    in the number of unaccompanied children arriving annually or DHS’s expanded
                 23    operations since the FSA became effective in 1997. For example, in 1997, the number
                 24    of juvenile shelter beds INS operated was 131, and so “influx” was naturally defined
                 25    as more than 130 children. But from 1997 to 2000 alone, the number of juvenile
                 26    shelter beds INS operated increased from 131 to 400.4
                 27
                 28    4
                           https://oig.justice.gov/reports/INS/e0109/exec.htm.
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                   1           Because DHS itself admits that it regularly has 130 children eligible for
                   2   placement in licensed facilities, the Rule’s definitions allow it to operate at a constant
                   3   state of influx under relaxed standards.5 The new definition of “influx” allows “as
                   4   expeditiously as possible” to become the default for placing unaccompanied children
                   5   and permits less stringent standards related to transfers and services.
                   6                 2.     The Rule’s Definition Of “Emergency” Replaces Specified Time
                   7                        Frames With Vague Language Open To Broad Interpretation.
                   8           The FSA defines an “emergency” as acts or events preventing placement of
                   9   children within specified time periods. The Rule materially changes that definition to
                 10    “an act or an event that prevents timely transport or placement of a [child], or could
                 11    delay compliance with or temporarily excuse compliance with other provisions of the
                 12    proposed rule.” (84 Fed. Reg. at 44,412; Proposed 8 C.F.R. § 236.3(b)(5)). This fluid
                 13    definition would excuse compliance with core FSA principles, such as timely
                 14    providing food to a child, based on DHS’s discretion and convenience.
                 15            In sum, the broad definitions in the Rule allow for so much discretion that they
                 16    effectively convert the FSA’s exceptions in the event of an emergency or influx into
                 17    the default rule.
                 18            E.    The Rule Abrogates Immigrant Children’s Due Process Rights.
                 19                  1.     The Rule Deprives Immigrant Children Of Critical Rights At
                 20                         Bond Hearings.
                 21            The FSA provides that a child in deportation proceedings “shall be afforded a
                 22    bond redetermination hearing before an immigration judge . . . .”6 The Rule, however,
                 23    provides for a hearing before “an independent hearing officer employed by HHS,”
                 24    who will “determine, through a written decision, whether the [unaccompanied child]
                 25
                       5
                 26     U.S. Department of Homeland Security and U.S. Department of Health and Human
                       Services, “Apprehension, Processing, Care, and Custody of Alien Minors and
                 27    Unaccompanied Alien Children,” 84 Fed. Reg. at 44,422-23
                 28    6
                           FSA ¶ 24 A.
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                   1   would present a risk of danger to the community or risk of flight if released.”7 Due
                   2   process requires that unaccompanied children are provided, among other things, a
                   3   meaningful opportunity to be heard before a neutral, independent arbiter.8 Instead of
                   4   providing an unaccompanied child with the opportunity to be heard by a neutral
                   5   arbiter, the Rule provides that the unaccompanied child is subject to review by an
                   6   HHS employee who is tasked with reviewing the decision of the agency by which he
                   7   or she is employed. Courts have determined that similar procedures are in violation
                   8   of due process.9
                   9            Furthermore, the Rule places the burden on the unaccompanied child “to show
                 10    that he or she will not be a danger to the community or flight risk if released, using a
                 11    preponderance of the evidence standard.”10 The unaccompanied child must also
                 12    provide for his or her own counsel.11 Imposing these burdens upon an unaccompanied
                 13    child dramatically increases the chances that the child will be detained for long
                 14    periods or deported without a proper legal hearing.12
                 15                   2.    The Rule Inhibits The Ability Of Children To Meaningfully
                 16                         Participate In Court Proceedings And Strips Children Of
                 17                         Critical Protections.
                 18             The Rule implements a scheme of re-evaluation of an immigrant child’s status
                 19    and provides that an immigrant child may lose his or her status upon the occurrence
                 20    of certain events, thereby increasing the level of instability and uncertainty for those
                 21    designated as unaccompanied children. More specifically, the Rule provides that a
                 22    child who has previously been designated as an unaccompanied child undergo a
                 23    7
                           84 Fed. Reg. at 44,535; 45 C.F.R. § 410.810(a).
                 24    8
                           Marshall v. Jerrico, Inc., 446 U.S. 238, 242 (1980).
                 25    9
                           See, e.g., Beltran v. Cardall, 222 F. Supp. 3d 476 (E.D. Va. 2016).
                 26    10
                            84 Fed. Reg. at 44,535; 45 C.F.R. § 410.810(b).
                 27    11
                            84 Fed. Reg. at 44,535; 45 C.F.R. § 410.810(c).
                 28    12
                            FSA ¶ 11; 8 U.S.C. § 1232(c)(2)(A).
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                   1   redetermination process upon each contact with immigration officials, including
                   2   when the immigrant child is encountered or apprehended and prior to the child’s
                   3   detention or release.13 Such a system deprives the child of due process — the child
                   4   will not know what rules to rely on because DHS may strip their legal protections
                   5   upon re-evaluation in each encounter.
                   6   IV.        The Rule Will Have A Devastating Impact For Immigrant Children.
                   7              The asylum court process can take anywhere from six months to a few years.14
                   8   Given the present court backlog, the time is generally years and not months.
                   9   Therefore, under the Rule children are quite likely to be in federal detention centers
                 10    for years.15 The overwhelming scientific consensus in the child welfare, medical,
                 11    pediatric, psychiatric, and educational professional communities, including all of the
                 12    amici curiae, is that such long term detention would have an extremely significant
                 13    negative impact on the physical, mental, and emotional health of detained children.
                 14               A.    The Rule Ignores Humane Alternatives To Long-Term Detention.
                 15               There is a humane alternative to the long-term detention of children with their
                 16    parents in prison-like conditions. Following an increase in the number of families
                 17    arriving in the United States in 2014, DHS introduced a pilot program in 2016 known
                 18    as the Family Case Management Program (“FCMP”). The FCMP operated from
                 19    January 2016 to June 2017 with 952 families across five major cities. The FCMP
                 20    solely served families seeking asylum and used research-based individualized case
                 21    management and partnerships with community-based organizations to give families
                 22    in the program a deep understanding of the immigration process to encourage their
                 23    compliance with U.S. immigration law.16
                 24
                       13
                            84 Fed. Reg. at 44,426, 44,526; 8 C.F.R. § 236(d)(1).
                 25
                       14
                            https://immigrationforum.org/article/fact-sheet-u-s-asylum-process/
                 26    15
                            Id.
                 27    16
                          Women’s Refugee Commission, Backgrounder: Family Case Management
                 28    Program, 2018.
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                   1              The FCMP was successful at ensuring compliance at a low cost. Of the
                   2   program’s participants, 99.3 percent attended their immigration court hearings and
                   3   99.4 percent attended their appointments with ICE.17 Some of the participants were
                   4   granted immigration relief including asylum, while others were ordered removed.
                   5   Importantly, those who were ordered removed complied with their removal. The
                   6   FCMP achieved extremely high rates of compliance at much lower costs than family
                   7   detention. Detaining families in DHS facilities costs nearly $320 per person per day.18
                   8   But, the FCMP costs $38 per day per family unit. Thus, the cost to detain a family of
                   9   three for twenty days is more than twenty-five times the cost to enroll them in the
                 10    FCMP.19
                 11               Similar programs offered through non-profit organizations and amici provide
                 12    similar results. For example, between June 2013 and November 2014, 44 out of 46
                 13    formal referrals to the Lutheran Immigration and Refugee Services Community
                 14    Support initiative were in complete compliance—an appearance rate of 95.6 percent.
                 15    These holistic programs that offer case management services, and facilitate access to
                 16    legal counsel as well as safe, affordable housing have been shown to substantially
                 17    increase program compliance without the extensive and expensive use of electronic
                 18    monitoring.20
                 19
                 20    https://www.womensrefugeecommission.org/rights/resources/1653-family-case-
                       management-program
                 21
                       17
                            Id.
                 22    18
                         Department of Homeland Security, Budget Overview FY 2019, U.S. Immigration
                 23    and                             Customs                             Enforcement,
                 24    https://www.dhs.gov/sites/default/files/publications/U.S.%20Immigration%20and%
                       20Customs%20Enforcement.pdf.
                 25    19
                          Women’s Refugee Commission, Backgrounder: Family Case Management
                 26    Program, 2018. https://www.womensrefugeecommission.org/rights/resources/1653-
                       family-case-management-program
                 27
                       20
                         See Zero to Three Comments on the Notice of Proposed Rulemaking to
                 28
                       Apprehension Processing, Care, and Custody of Alien Minors and Unaccompanied
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                   1              B.   The Rule Is In Direct Conflict With The Findings Of DHS’s Own
                   2                   Advisory Committee On Family Residential Centers.
                   3              Not only are the Rule’s provisions allowing for indefinite detention
                   4   inconsistent with the FSA, they are also in direct conflict with findings of DHS’s own
                   5   ICE Advisory Committee on Family Residential Centers.
                   6              The Advisory Committee, composed of independent subject-matter experts,
                   7   was established on July 24, 2015 and tasked with providing advice and
                   8   recommendations to the Secretary of DHS through the Assistant Secretary for ICE
                   9   on “matters concerning ICE’s family residential centers.”21 On October 7, 2016, the
                 10    Advisory Committee released a report and stated: “our overarching recommendation
                 11    is for DHS simply [to] avoid detaining families.”22 The Advisory Committee
                 12    recommended that “DHS’s immigration enforcement practices should operationalize
                 13    the presumption that detention is generally neither appropriate nor necessary for
                 14    families – and that detention or the separation of families for purposes of immigration
                 15    enforcement or management or detention, is never in the best interest of children.”23
                 16               The Advisory Committee’s conclusions and recommendations were supported
                 17    by several findings that detention exposes children to harm and therefore is not in the
                 18    best interests of children. Indeed, the Advisory Committee noted that ICE’s family
                 19    residential standards were remarkably similar to standards developed by the
                 20
                 21
                 22
                       Alien Children, DHS Dkt. ICEB 2018-002, at 4 (Nov. 6, 2018); United States
                 23    Government Accountability Office. (2014). Alternatives to Detention: Improved
                 24    Data Collection and Analyses Needed to Better Assess Program Effectiveness,
                       http://www.gao.gov/assets/670/666911.pdf
                 25
                       21
                         Rep. of the DHS Advisory Comm. on Family Residential Ctrs., “Final Report”
                 26    (2016), at 1 (Introduction)
                 27    22
                            Id. at 1 (Decisions to Detain and Release)
                 28    23
                            Id.
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                   1   American Correctional Association for adult criminal defendants incarcerated
                   2   pretrial, in violation of ICE’s statutory mandate as well as case law.24
                   3            In the face of these findings from its own Advisory Committee stating that the
                   4   “best interests of the child … should favor release of the whole family together as
                   5   soon as possible,” the Government seeks not to use effective alternatives to detention
                   6   or even to mitigate the risk of harm to children, but instead to increase the detention
                   7   of children. The Rule is thus contrary to the explicit and unequivocal conclusions
                   8   made by DHS’s very own Advisory Committee.
                   9            C.     Detention Is Inherently Harmful To Children’s Mental And Physical
                 10                    Health
                 11             Detention of children is a global issue condemned by respected human rights
                 12    and professional organizations both within and beyond the United States.25
                 13
                       24
                 14         Id. at 22-23.
                       25
                 15      American Academy of Pediatrics Detention of Immigrant Children at 6;
                       American Immigration Council. A Guide to Children Arriving at the Border: Laws,
                 16    Policies and Responses (2015),
                 17    https://www.americanimmigrationcouncil.org/research/guide-children-arriving-
                       border-laws-policies-and-responses; CARA Family Detention Pro Bono Project.
                 18    Letter of complaint from CARA to Office of Civil Rights and Civil Liberties and
                 19    Office of Inspector General, Department of Homeland Security, Washington DC,
                       March 28, 2016; AILA doc. no. 16032961,www.aila.org/advo-media/press-
                 20    releases/ 2016/cara-crcl-complaint-concerns-regarding- detention; Lutheran
                 21    Immigration and Refugee Service; The Women’s Refugee Values, Again.
                       Baltimore, MD: Lutheran Immigration and Refugee Service; 2014,
                 22    https://www.speakcdn.com/assets/2474/lirswrc_lockingupfamilyvaluesagain_report
                 23    _141114.pdf; Society for Community Research and Action Division 27 of the
                       American Psychological Association. Policy statement on the incarceration of
                 24    undocumented migrant families. Am J Community Psychol. 2016;57(1–2):255–
                 25    263; UN Human Rights, UN Experts to US: “Release Migrant Children from
                       Detention and Stop Using them to Deter Irregular Migration”,
                 26    https://www.ohchr.org/EN/NewsEvents/Pages/DisplayNews.aspx?NewsID=23245
                 27    &LangID=E; UN Committee on the Protection of the Rights of All Migrant
                       Workers and Members of Their Families (CMW), Joint general comment No. 4
                 28
                       (2017) of the Committee on the Protection of the Rights of All Migrant Workers
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                   1         Overwhelmingly, medical research shows that even a short amount of time in
                   2   detention is seriously harmful to children, particularly those who have already
                   3   experienced trauma in their home countries or during their journey to the United
                   4   States.26 Studies of detained immigrants have found negative physical and emotional
                   5   symptoms among detained children, including anxiety, depression and post-
                   6   traumatic stress disorder.27 At least one domestic study of children detained at the
                   7   southwestern border of the United States confirms this body of research. Dr. Luis
                   8   Zayas, a child mental health expert, evaluated nearly 50 children and mothers in
                   9   multiple detention centers and found extremely high levels of anxiety, depression,
                 10    suicide attempts, and regressions in child development.28 These regressions include
                 11
                 12
                       and Members of Their Families and No. 23 (2017) of the Committee on the Rights
                 13    of the Child on State obligations regarding the human rights of children in the
                 14    context of international migration in countries of origin, transit, destination and
                       return, November 16, 2017, CMW/C/GC/4-CRC/C/GC/23,
                 15    https://www.refworld.org/docid/5a12942a2b.html, pages 2-4.
                 16    26
                         See Zero to Three Comments at 3 & n.iii, Triggs, G. (2015) (citing The Forgotten
                 17    Children: National Inquiry into Children in Immigration Detention 2014. The
                       Medical Journal of Australia, 202(11), 553-555. Doi:10.5694/mja15.00551).
                 18    Children in detention have also shown regression in child development, high levels
                 19    of anxiety and depression, and suicide attempts. Id. at 3 (citing Acer, E., Byrne, O.
                       (2015). Family Detention: Still Happening, Still Damaging. Human Rights First.
                 20    http://www.humanrightsfirst.org/sites/default/files/HRF-family-detention-still-
                 21    happening.pdf); See AAP, LIRS and Young Center Expert Letter at 2 (citing Linton
                       JM, Griffin M, Shapiro AJ Detention of Immigrant Children. Pediatrics.
                 22    2017;139(5)); Society for Community Research and Action, Division 27 of the
                 23    American Psychological Association, Policy Statement on the Incarceration of
                       Undocumented Migrant Families. Am. J. Community Psychol. (2016)57:255–263.
                 24    27
                         American Academy of Pediatrics Detention of Immigrant Children, at 6& nn. 55–
                 25    57; Von Werthern M, Robjant K, Chui Z, Schon R, Ottisova L, Mason C, Katona C.
                 26    The impact of immigration detention on mental health: a systematic review. BMC
                       Psychiatry 2018;18:382.
                 27    28
                        Claire Hutkins Seda, Dr. Luis Zayas Provides Testimony on Family Detention,
                 28    Migrant Clinicians Network, 2015,
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                   1   declines in language development, impaired cognitive development, bed wetting,
                   2   decreased eating, sleep disturbances, social withdrawal, and aggression.29
                   3         Even brief periods of detention impact children’s functioning, and worsening
                   4   mental health symptoms increase the longer a child is in detention.30 Prolonged
                   5   detention has been shown to exacerbate trauma and its negative impacts, too: children
                   6   in detention are ten (10) times more likely to develop post-traumatic stress disorder
                   7   than adults, and their symptoms become increasingly common the longer a child is
                   8   in detention.31 Parents in detention centers have described regressive behavioral
                   9   changes in their children, including decreased eating, sleep disturbances, clinginess,
                 10    withdrawal, self-injurious behavior, and aggression.32
                 11          Detention is inappropriate and profoundly harmful for children of any age. It
                 12    is particularly damaging to young children due to their particular needs for safe and
                 13
                 14
                 15
                 16
                 17    http://www.migrantclinician.org/blog/2015/jul/dr.-luis-zayas-provides-testimony-
                       family-detention.html.
                 18
                       29
                          Megan J. Wolff, Fact Sheet: The Impact of Family Detention on Children, 2018,
                 19    http://psych-history.weill.cornell.edu/pdf/Family_Detention_Sheet.pdf ; American
                 20    Academy of Pediatrics, Detention of Immigrant Children, at 6,
                       http://pediatrics.aappublications.org/content/early/2017/03/09/peds.2017-0483
                 21
                       30
                         See Zero to Three Comments at 3 & n.v (citing Mares, S. (2015), Fifteen years of
                 22    detaining children who seek asylum in Australia – Evidence and consequences,
                 23    Australian Psychiatry, 24(1), 1-14. Doi: 10.1177/1039856215620029).
                       31
                 24      Australian Human Rights Commission, The Forgotten Children: National Inquiry
                       on Immigrant Children in Detention, 2014, https://www.humanrights.gov.au/our-
                 25    work/asylum-seekers-and-refugees/publications/forgotten-children-national-
                 26    inquiry-children
                       32
                         Julie M. Linton, Marsha Griffin, Alan Shapiro, American Academy of Pediatrics,
                 27
                       Policy Statement: Detention of Immigrant Children, Apr. 2017,
                 28    http://pediatrics.aappublications.org/content/early/2017/03/09/peds.2017-0483.
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                   1   stimulating environments in which to learn and grow, and the fact that the first years
                   2   of a child’s life are of paramount importance to their later success and well-being.33
                   3         Sending infants and toddlers, even with their parents, to institutional detention
                   4   is profoundly destructive to the health and well-being of a young child. Decades of
                   5   research in child development clearly show that physical and social environments
                   6   have a significant impact on children’s healthy development.34 A baby’s brain makes
                   7   more than one million neural connections every second, growing faster than at any
                   8   point later in their life. These connections are shaped by their experiences—both
                   9   positive and negative—and the consequent level of harmful stress in their lives. For
                 10    young children, exposure to an environment such as detention or jailing is actively
                 11    detrimental to their growth and development.35 Early childhood trauma has severe
                 12    implications for both physical and emotional health over time, increasing young
                 13    children’s risk for learning difficulties, problems forming relationships, and adult
                 14    health problems. 36
                 15          In light of this overwhelming body of research regarding the detention of
                 16    children, it is unsurprising that the American Medical Association, the American
                 17
                       33
                        Harvard University, Center on the Developing Child, In Brief: Early Childhood
                 18
                       Mental Health, 2013,
                 19    https://developingchild.harvard.edu/resources/inbrief-early-childhood-mental-
                 20    health/.
                       34
                 21      See Zero to Three Comments at 3-4 & n.xii; (citing Felitti, V. J., Anda, R.F.,
                       Nordenberg, D., Williamson, D.F., Spitz, A.M., Edwards, V. et. al. (1998).
                 22    Relationship of Childhood Abuse and Household Dysfunction to Many of the
                 23    Leading Causes of Death in Adults. American Journal of Preventative Medicine,
                       14(4), 245-258. Doi:10.1016/s0749-3797(98)00017-8).
                 24    35
                         See Zero to Three Comments, at 2 & n.ii (citing Mares, S. (2015), Fifteen years of
                 25    detaining children who seek asylum in Australia – Evidence and consequences,
                 26    Australian Psychiatry, 24(1), 1-14. Doi: 10.1177/1039856215620029).
                       36
                         See Zero to Three Comments at 4 & n. xiii (citing Fillmore, E. (2010). The Effects
                 27
                       of Immigration Detention on the Health of Children and Families in the UK.
                 28    Adoption & Fostering, 34(1), 88-91. Doi:10.1177/030857591003400112).
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                   1   Academy of Pediatrics, the American Academy of Child and Adolescent Psychiatry,
                   2   the American College of Physicians, the American Psychological Association, the
                   3   American Academy of Family Physicians, and the National Association of Social
                   4   Workers have all publicly and strongly advocated for the end to family and child
                   5   detention.
                   6         In 2018, the American College of Physicians released a policy stating that
                   7         forced family detention—indefinitely holding children and their parents, or
                   8         children and their other primary adult family caregivers, in government
                   9         detention centers until the adults’ immigration status is resolved—can be
                 10          expected to result in considerable adverse harm to the detained children and
                 11          other family members, including physical and mental health, that may follow
                 12          them through their entire lives, and accordingly should not be implemented by
                 13          the U.S. government.37
                 14          The American Psychiatric Association likewise recommends that “the
                 15    maximum period of detention for children and their parents not go beyond the
                 16    [FSA’s] current limit of 20 days and that every effort be made to minimize the
                 17    number of days spent by families in detention to decrease the negative consequences
                 18    of detention for this vulnerable population.”38 The American Psychiatric Association
                 19    recommends such limits because:
                 20
                 21
                 22    37
                         American College of Physicians, The Health Impact of Family Detentions in
                 23    Immigration Cases, July 3, 2018,
                 24    https://www.acponline.org/acp_policy/policies/family_detention_position_statemen
                       t_2018.pdf; American Academy of Pediatrics, Policy Statement: Detention of
                 25    Immigrant                                Children,                           2017,
                 26    http://pediatrics.aappublications.org/content/early/2017/03/09/peds.2017-0483;
                       38
                          American Psychiatric Association, Comments in Response to Proposed
                 27
                       Rulemaking: Apprehension, Processing, Care and Custody of Alien Minors and
                 28    Unaccompanied Alien Children, at 2 (Nov. 6, 2018).
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                   1                    A substantial body of research links the trauma of
                   2                    childhood detention with lasting adverse outcomes,
                   3                    including an increased risk of mental illness, such as
                   4                    depression, anxiety, and post-traumatic stress disorder.39
                   5                    … These migration-related and post migration stressors
                   6                    can produce demoralization, grief, loneliness, loss of
                   7                    dignity, and feelings of helplessness as normal syndromes
                   8                    of distress that impede refugees from living healthy and
                   9                    productive lives.40, 41. It is critical that children remain with
                 10                     their parents, but this will not eliminate the risk of trauma.
                 11                     Prolongation of these families’ detention will compound
                 12                     the already significant mental health consequences they
                 13                     face.42
                 14             The American Academy of Pediatrics also strongly opposes detaining
                 15    children. “DHS detention facilities are not appropriate places for children …
                 16    [because] even short periods of detention can cause psychological trauma and long-
                 17    term mental health risks for children. Studies of detained immigrants have shown that
                 18
                 19
                 20
                 21    39
                         Id. (citing Felitti, Vincent J et al. Relationship of Childhood Abuse and Household
                 22    Dysfunction to Many of the Leading Causes of Death in Adults. American Journal
                       of Preventive Medicine, Volume 14, Issue 4, 245 – 258).
                 23
                       40
                         Id. (citing Al-Krenawi, A., Lev-Wiesel, R., & Sehwail, M. (2007). Psychological
                 24    symptomatology among Palestinian children living with political violence. Child and
                 25    Adolescent Mental Health 12:27–31).
                       41
                 26      Id. (citing Fernando, G.A., Miller, K.E., & Berger, D.E. (2010). Growing pains:
                       the impact of disaster-related and daily stressors on the psychological and
                 27    psychosocial functioning of youth in Sri Lanka. Child Development 81:1192-1210).
                 28    42
                            Id. at 2.
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                   1   children and parents may suffer negative physical and emotional symptoms from
                   2   detention, including anxiety, depression and post-traumatic stress disorder.”43
                   3         The Administration disregarded the medical community’s broad consensus as
                   4   well as DHS Advisory Committee on Family Residential Centers (“FRCs”), which
                   5   found in 2016 that appropriate standards of care for children and families are simply
                   6   impossible within the context of family detention and that detention or the separation
                   7   of families for purposes of immigration enforcement or management are never in the
                   8   best interest of children.44
                   9         D.     Federal Detention Facilities’ Conditions Seriously Compound The
                 10                 Harm Inherent In Detention.
                 11          Further compounding the risks to children’s well-being, families in detention
                 12    face inadequate access to critical services including the medical and mental health
                 13    care they so desperately need. Children and families, babies and expectant mothers
                 14    in particular, need specialized medical and mental health services in order to ensure
                 15    healthy growth and development. Family residential facilities have consistently
                 16    failed to recruit adequate health staff including pediatricians, child and adolescent
                 17    psychiatrists, and pediatric nurses. Families released to non-custodial programs have
                 18    access to providers based in the community, but in detention their access to qualified
                 19
                 20
                 21
                       43
                 22       American Academy of Pediatrics Comments to DHS Dkt. No. ICEB. 2018-002,
                       Proposal Rulemaking: Apprehension, Processing Care, and Custody of Alien Minors
                 23    and Unaccompanied Alien Children, at 7 (Nov. 5, 2018) (citing Julie M. Linton,
                 24    Marsha Griffin, Alan Shapiro, American Academy of Pediatrics, Policy Statement:
                       Detention           of        Immigrant          Children,        Apr.       2017,
                 25    http://pediatrics.aappublications.org/content/early/2017/03/09/peds.2017-0483).
                 26    44
                          Immigration and Customs Enforcement, Report of the DHS Advisory Committee
                       on            Family               Residential           Centers,       2016,
                 27
                       https://www.ice.gov/sites/default/files/documents/Report/2016/ACFRC-sc-
                 28    16093.pdf.
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                   1   medical and mental health care professionals has been demonstrated to be severely
                   2   limited.45
                   3           Visits to family detention centers by pediatric and mental health advocates
                   4   have revealed discrepancies between the standards outlined by ICE and the actual
                   5   services provided, including inadequate or inappropriate immunizations, delayed
                   6   medical care, inadequate education services, and limited mental health services.46
                   7           Other reports from physicians providing medical care at immigration facilities
                   8   describe prison-like conditions; inconsistent access to quality medical, dental, or
                   9   mental health care.47
                 10            Two physicians from within DHS’ own Office of Civil Rights and Civil
                 11    Liberties found serious compliance issues in DHS-run facilities resulting in
                 12    “imminent risk of significant mental health and medical harm.”48 The physicians
                 13    were so alarmed, they sent a whistleblower letter to the Senate Whistleblowing
                 14    Caucus. The DHS physicians stated that because of the intrinsic harm associated with
                 15    detaining children, “there is no amount of programming that can ameliorate the harms
                 16    created by the very act of confining children to detention centers. Detention of
                 17
                       45
                 18         See Zero to Three Comments at 3.
                       46
                 19       Julie M. Linton, Marsha Griffin, Alan Shapiro, American Academy of Pediatrics,
                       Policy Statement: Detention of Immigrant Children, Apr. 2017, at 5,
                 20    http://pediatrics.aappublications.org/content/early/2017/03/09/peds.2017-0483.
                 21    47
                          See American Medical Association, “AMA Adopts New Policies to Improve
                 22    Health of Immigrants and Refugees,” June 12, 2017, https://www.ama-assn.org/ama-
                       adopts-new-policies-improve-health-immigrants-and-refugees. See also American
                 23    Academy of Pediatrics Flores Comments at 8; Julie M. Linton, Marsha Griffin, Alan
                 24    Shapiro, American Academy of Pediatrics, Policy Statement: Detention of Immigrant
                       Children,                                  Apr.                               2017,
                 25    http://pediatrics.aappublications.org/content/early/2017/03/09/peds.2017-0483
                 26    48
                          Letter from Dr. Scott Allen and Dr. Pamela McPherson to the Honorable Charles
                       Grassley and the Honorable Ron Wyden, July 17, 2018, at 3,
                 27
                       https://www.wyden.senate.gov/imo/media/doc/Doctors%20Congressional%20Discl
                 28    osure%20SWC.pdf
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                   1   innocent children should never occur in a civilized society, especially if there are less
                   2   restrictive options, because the risk of harm to children simply cannot be justified.”
                   3   Id. at 2.
                   4          There are numerous examples of children being held in prisonlike conditions.
                   5   In late 2015, the Texas Department of Family Protective Services introduced a
                   6   regulation called the “FRC rule” that would allow the Dilley Detention Center to
                   7   detain children while exempt from statewide health and safety standards. In June
                   8   2016, a judge ruled that such an exemption could put children at risk of abuse,
                   9   particularly due to shared sleeping spaces with non-related adults. In December 2016,
                 10    that decision was upheld by a federal judge.49
                 11           In its 2016 testimony on the Karnes County Residential Center (GEO Group)’s
                 12    application for licensure under the Texas Department of Family and Protective
                 13    Services as a General Residential Operation and Emergency Care Service Facility,
                 14    the Texas Pediatric Society (TPS) found, “prison-like settings [such as those present
                 15    at Karnes] do not aid in the healthy upbringing and development of children or enable
                 16    their families to provide [the] best quality of care to their children.” TPS testified that
                 17    granting state licensure to a facility like Karnes would do the opposite of what state
                 18    statute requires of such facilities – it would limit a child’s opportunity for meaningful
                 19    social interaction. Additionally, TPS found a lack of trauma-informed, mental health
                 20    resources in the [rural] Karnes community and the intrinsic nature of these facilities
                 21
                       49
                 22      American Academy of Pediatrics Flores Comments at 5; Alexa Garcia-Ditta, Judge
                       Halts Child Care License for Dilley Detention Center, Texas Observer, June 2, 2016,
                 23
                       https://www.texasobserver.org/immigrant-family-detention-license-hold/; , Final
                 24    Judgement, D-1-GN-15-004336 Grassroots Leadership v. Texas Dep’t of Family and
                       Protective     Servs.,     (District    Court       of    Travis     County     2016),
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                       https://grassrootsleadership.org/sites/default/files/uploads/gli_v._dfps_final_judgme
                 26    nt.pdf; Representative Lucille Roybal-Allard, Representative Pramila Jayapal, In ICE
                       Detention Pregnant Women Face Stress, Trauma, and Inadequate Care, The Hill,
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                       Apr. 25, 2018, https://thehill.com/blogs/congress-blog/homeland-security/384602-
                 28    in-ice-detention-pregnant-women-face-stress-trauma-and.
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                   1   as detention centers are not conducive to the emotional and developmental needs of
                   2   highly traumatized children.50
                   3         In a recent report on the current state of detention centers, the Office of
                   4   Inspector General (OIG) found that current audits already, “do not ensure adequate
                   5   oversight or systemic improvements in detention conditions.”51 The report highlights
                   6   that the current lenient approach to inspections and onsite monitoring have led to
                   7   inadequate responses by ICE and inconsistencies in implementing corrective actions.
                   8   Some examples included facilities failing to notify ICE about alleged, or proven
                   9   sexual assaults, or not allowing detainees to participate in recreation as required. It is
                 10    therefore, particularly disturbing for DHS to plan to subject children to indefinite
                 11    confinement in facilities that will be seriously detrimental to their health.
                 12          E.     The Rule Will Have A Devastating Impact On The Educational
                 13                 Development Of The Detained Children.
                 14          The Rule will also have a devastating impact on the educational development
                 15    of the detained children. Studies show that detained children face heightened barriers
                 16    to learning. More specifically, these children display regression in language
                 17    development and impaired cognitive development due to the persistent stress and
                 18    substantial exposure to fear, labeled as “toxic stress.”52 Toxic stress has been shown
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                 20    50
                         American Academy of Pediatrics Flores Comments at 5; Joyce Elizabeth Mauk,
                 21    MD, Testimony on Public Hearing for Karnes County Residential Center, Apr. 13,
                       2016,                     https://www.aap.org/en-us/advocacy-and-policy/state-
                 22    advocacy/Documents/Testimony%20on%20GEO%20Detention%20Facility%20Ka
                 23    rnes.pdf.
                       51
                 24      Dept. of Homeland Security Office of Inspector General, ICE’s Inspections and
                       Monitoring of Detention Facilities Do Not Lead to Sustained Compliance or
                 25    Systemic Improvements, OIG-18-67 (June 26, 2018),
                 26    https://www.oig.dhs.gov/sites/default/files/assets/2018-06/OIG-18-67-Jun18.pdf.
                       52
                 27       Megan J. Wolff, Fact Sheet: The Impact of Family Detention on Children, 2018,
                       http://psych-history.weill.cornell.edu/pdf/Family_Detention_Sheet.pdf; Julie M.
                 28
                       Linton, Marsha Griffin, Alan J. Shapiro, Detention of Immigrant Children, American
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                   1   to interfere with the physical brain development of a child.53 This can lead to
                   2   developmental delays, potentially affecting the child’s future performance at
                   3   school.54 Other experts have determined that exposure to this type of stress can have
                   4   lifelong consequences for a child in terms of his or her educational development and
                   5   economic productivity.55 This is due, in part, to the fact that the detained child will
                   6   experience physiological and psychological effects associated with toxic stress, for
                   7   example, post-traumatic stress.56 These effects are likely to significantly impair a
                   8   child’s ability to learn.57
                   9          Other studies show that children who are detained during critical years of their
                 10    development are exposed to additional risks in terms of their education. More
                 11    specifically, these studies show that children aged two to four in detention who lack
                 12    access to preschool services face learning and development consequences at this
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                 15
                       Academy              of           Pediatrics,          2017,          at            2,
                 16    https://pediatrics.aappublications.org/content/pediatrics/139/5/e20170483.full.pdf.
                       53
                 17       Shonkoff, J.P., Garner A.S., AAP Committee on Psychosocial Aspects of Child
                       and Family Health, et al. The Lifelong Effects of Early Childhood Adversity and Toxic
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                       Stress,                  Pediatrics                  2012;                  129;e232,
                 19    https://pediatrics.aappublications.org/content/pediatrics/129/1/e232.full.pdf.
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                 20      Dudley M, Steels Z, Mares S, Newman L. Children and young people in
                       immigration detention, Curr Opin Psychiatry, 2012;25(4):285-292.
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                            American Academy of Pediatrics, Letter to Secretary Johnson,
                 22    https://www.aap.org/en-us/advocacy-and-policy/federal-
                 23    advocacy/Documents/AAP%20Letter%20to%20Secretary%20Johnson%20Family
                       %20Detention%20Final.pdf.
                 24    56
                         Dudley M, Steels Z, Mares S, Newman L. Children and young people in
                 25    immigration detention, Curr Opin Psychiatry, 2012;25(4):285-292.
                 26    57
                         Id.; K Robjant et al., Mental Health Implications of Detaining Asylum Seekers:
                       Systematic Review, 194(4) Brit. J. of Psychiatry 306-312 (2009),
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                       https://pdfs.semanticscholar.org/ad17/2e7c889a6e3ccab263ab1e12909d41f6cd2b.p
                 28    df?_ga=2.139782069.788147620.1566760224-784155949.1566760224.
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                   1   critical stage of brain development.58 This risk persists when detained children are in
                   2   their primary school age.59 These children experience negative impacts on their
                   3   learning due to the lack of school education, which has long term impacts on their
                   4   cognitive development and academic progress.60 The aforementioned findings are
                   5   particularly concerning where the Rule does not explain how the federal government
                   6   will provide “[e]ducational services appropriate to the child’s level of development
                   7   in a structured classroom setting,” as required by the FSA. 84 Fed. Reg. at 44,440.
                   8              In sum, the Rule will deprive detained children of the opportunity to reach their
                   9   full developmental and academic potential by increasing their exposure to toxic stress
                 10    and restricting their access to educational programs with supportive norms and
                 11    structures. This will create a substantial societal cost — those detained children
                 12    whose education languishes and go on to live in this country will be much less able
                 13    to contribute to society.
                 14               F.    Detention Erodes The Parent-Child Relationship And Exacerbates
                 15                     The Immense Distress That Children In Detention Already
                 16                     Experience.
                 17               The result of the Rule is increased detention of accompanied children and their
                 18    parents. Though DHS claims that provisions of the Rule would actually “strengthen
                 19    the stability of the family[,]” 84 Fed. Reg. at 44,503, this assertion is unfounded and
                 20    unsupported by data or studies. In reality, detention undermines the authority of
                 21    parents, prevents parents from being able to respond to the needs of their children,
                 22    and causes greater harm to the well-being of both children and their parents.
                 23
                 24    58
                         Australian Human Rights Commission, The Forgotten Child: National Inquiry into
                 25    Children               in                 Immigration                   Detention,
                       https://www.humanrights.gov.au/sites/default/files/document/publication/forgotten
                 26    _children_2014.pdf.
                 27    59
                            Id.
                 28    60
                            Id.
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                   1         Detained parents, who themselves are subject to the authority of DHS and its
                   2   agents, lose their fundamental autonomy to make independent decisions regarding
                   3   their children’s diet, schedule, sleeping arrangement, discipline, medical care
                   4   providers, education, and more.61 In fact, reports indicate that detained parents have
                   5   been unable to secure proper medical care for their children who had become ill as a
                   6   result of eating contaminated food.62 Since parents are unable to fulfill their usual
                   7   caretaking role, studies show that children become confused by the existence of
                   8   conflicting authority figures.63 This interference in the development of the parent-
                   9   child relationship is particularly disruptive for infants and toddlers.64
                 10          Research shows that children are impacted by the emotional well-being of their
                 11    parents.65 Since most detained adults suffer from mental health issues, including post-
                 12    traumatic stress disorder and clinical depression, they are unable to adequately
                 13    comfort and care for their children, and even pass their distress onto their children.66
                 14
                       61
                 15      Report of the Advisory Committee on Family Residential Centers, Final Report, at
                       37, 42 n.98; 2 Family Residential Standards 3.1, 4.3, 4.4, and 4.5.
                 16
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                         Eleni Bakst, Immigration Detention is Making Kids Sick, Human Rights First,
                 17    November 22, 2017, https://www.humanrightsfirst.org/blog/immigration-detention-
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                 19      Kronick R, Rousseau C, Cleveland J. Asylum-Seeking Children’s Experiences of
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                        Harvard University, Center on the Developing Child, “Maternal Depression Can
                 24    Undermine the Development of Young Children.”
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                 25      Janet Cleveland, Cécile Rousseau, and Rachel Kronick, Bill C-4: The impact of
                       detention and temporary status on asylum seekers’ mental health (Geneva,
                 26    Switzerland:               Global               Detention               Project,
                 27    2012)https://www.globaldetentionproject.org/wp-
                       content/uploads/2016/06/Canada_cleveland.pdf;    Rhitu    Chatterjee,  Lengthy
                 28
                       Detention of Migrant Children May Create Lasting Trauma, Say Researchers, NPR.
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                   1   This is especially problematic since children in detention are disproportionality
                   2   exposed to trauma and thus in greater need of parental support, as reports show that
                   3   children in family detention have been starved, taunted, and even sexually
                   4   assaulted.67
                   5          The Administration’s claim that the Rule would strengthen the stability of
                   6   detained families is without merit. Overwhelming authority has concluded that even
                   7   when families are detained together, the family structure is completely uprooted. This
                   8   disturbance has both short and long-term negative effects on the mental and physical
                   9   health of children and their parents.
                 10    V.     Conclusion
                 11           The Administration’s Rule should not stand. Indeed, the Rule is fatally flawed
                 12    because there are alternatives to detention that are cheaper, more humane, and equally
                 13    effective. Moreover, the Rule is fundamentally inconsistent with the FSA and
                 14    common concepts of basic humanity. Children should not be subject to the harsh
                 15    treatment that is allowed by the Rule. Families should not be “united” in prison-like
                 16    facilities that fail to provide basic services, cost far more, and are inimical to physical
                 17    and mental well-being. Rather, families should live together in our communities
                 18    while awaiting their legal right to a court hearing. It is in the best interests of children
                 19    that the Rule be rejected.
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                       https://www.npr.org/sections/health-shots/2019/08/23/753757475/lengthy-
                 25    detention-of-migrant-children-may-create-lasting-trauma-say-researchers.
                 26    67
                          See, e.g., Michael Grabell and Topher Sanders, Immigrant Youth Shelters: If
                       You’re a Predator, It’s a Gold Mine, PROPUBLICA, July 27, 2018,
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                       https://www.propublica.org/article/immigrant-youth-shelters-sexual-abusefights-
                 28    missing-children.
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                 10                                 The American Academy of Child and
                 11                                 Adolescent Psychiatry (“Amicus 1”), the
                                                    American Academy of Pediatrics
                 12                                 (“Amicus 2”), the American Academy of
                 13                                 Pediatrics, California (“Amicus 3”), the
                                                    American Federation of Teachers
                 14                                 (“Amicus 4”), the American Medical
                 15                                 Association (“Amicus 5”), the American
                                                    Professional Society on the Abuse of
                 16                                 Children (“Amicus 6”), the American
                 17                                 Psychiatric Association (“Amicus 7”),
                                                    the American Psychoanalytic
                 18                                 Association (“Amicus 8”), the California
                 19                                 American Professional Society on the
                                                    Abuse of Children (“Amicus 9”), the
                 20                                 Center for Law and Social Policy
                 21                                 (“Amicus 10”), the Children’s Defense
                                                    Fund (“Amicus 11”), the Lutheran
                 22                                 Immigration and Refugee Service
                 23                                 (“Amicus 12”), the National Association
                                                    of Social Workers (“Amicus 13”), the
                 24                                 National Education Association
                 25                                 (“Amicus 14”), the Texas Pediatric
                                                    Society (“Amicus 15”), the Women’s
                 26                                 Refugee Commission (“Amicus 16”),
                 27                                 together with First Focus on Children
                                                    (“Amicus 17”), Save the Children Action
                 28                                 Network, Inc. (“Amicus 18”), Save the
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                   1                                Children Federation, Inc. (“Amicus
                   2                                19”), United States Fund for UNICEF
                                                    (“Amicus 20”), and ZERO TO THREE
                   3                                (“Amicus 21”).
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